Case 2:22-cv-00474-ART-BNW Document 37 Filed 06/29/23 Page 1 of 3
Case 2:22-cv-00474-ART-BNW Document 37 Filed 06/29/23 Page 2 of 3




                26




                              ORDER
                          IT IS SO ORDERED
                          DATED: 9:31 pm, June 29, 2023



                          BRENDA WEKSLER
                          UNITED STATES MAGISTRATE JUDGE
                Case 2:22-cv-00474-ART-BNW Document 37 Filed 06/29/23 Page 3 of 3




            1                                  CERTIFICATE OF SERVICE
            2          Pursuant to FRCP 5 and LR IC l-1, I hereby certify that I am an employee of THE
            3 VIEIRA FIRM and on June 28 2023, I served a true and correct copy of the foregoing
            4 SUBSTITUTION OF ATTORNEYS on the all parties registered for e-service in the service
            5 list of this matter on the Court's electronic filing system, or if the document is one that will not
                  i
            6 be fled electronically pursuant to LR IC 1-l(c), via U.S. Mail postage fully prepaid, addressed
            7 to each party as follows:
            8
                  S. Brent Vogel, Esq.
            9     Nevada Bar No. 6858
                  Ethan M. Featherstone, Esq.
           10     Nevada Bar No. 11566
           11     LEWIS BRISBOIS BISGAARD & SMITH LLP
                  6385 S. Rainbow Boulevard, Suite 600
           12     Las Vegas, Nevada 89118


l,a,i] 14
                  Telephone: 702.893.3383
    �"' 13
                  Facsimile: 702.893.3789
.!:
    -0�

     015          Brent.Vogel@lewisbrisbois.com
                  Ethan.Featherstone@lewisbrisbois.com
1a, ]! 15         Attorneys for Defendant
·>-ii 16
    -a:
    q:�
                  WELLPATH, LLC

           17
                  Lyssa S. Anderson, Esq.
           18     Nevada Bar No. 5781
                  Ryan W. Daniels, Esq.
           19
                  Nevada Bar No. 13094
           20     KAEMPFER CROWELL
                  1980 Festival Plaza Drive, Suite 650
           21     Las Vegas, Nevada 89135
           22     Telephone: (702) 792-7000
                  Fax: (702) 796-7181
           23     landerson@kcnvlaw.com
                  rdaniels@kcnvlaw.com
           24     Attorneys for Defendant
           25     LAS VEGAS METROPOLITAN POLICE DEPARTMENT

           26
                                                                         Isl Ivette Garcia
           27                                                An Employee of THE VIEIRA FIRM, PLLC
           28




                                                                3
